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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF RHODE ISLAND

 WOONASQUATUCKET RIVER
 WATERSHED COUNCIL, et al.,

 Plaintiffs,
                                            Case No. 1:25-cv-00097-MSM-PAS
 v.

 DEPARTMENT OF
 AGRICULTURE, et al.,

 Defendants.



                      PLAINTIFFS’ THIRD STATUS REPORT

       Pursuant to the Court’s orders of April 25 and 28, Plaintiffs submit this report

 regarding Defendants’ compliance with the preliminary injunction.

  I.   U.S. DEPARTMENT OF THE INTERIOR

 Status of Plaintiffs and Declarants

       As of May 1, the declarants from Exhibit S and from Exhibits O and Z report

 that their funding remains unfrozen. Both declarants have now received funds.

 Outstanding Issues

       Plaintiffs will review Defendants’ concurrently filed status report and

 declaration regarding Interior’s progress in (1) providing notice to awardees and (2)

 identifying whether there are any additional IRA or IIJA awards beyond the 650 they

 previously identified, including whether any IRA or IIJA awards remain frozen, to

 determine whether there are additional issues to be raised with the Court.




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 II.   U.S. DEPARTMENT OF AGRICULTURE

 Status of Plaintiffs and Declarants

       Plaintiffs have no further updates to provide since the previous status report;

 to their knowledge, their grants remain unfrozen.

 Outstanding Issues

       Plaintiffs will review Defendants’ concurrently filed status report and

 declaration clarifying (1) how many of the 42,627 identified IRA and IIJA awards

 remain frozen; (2) whether USDA has identified additional IRA- or IIJA-funded

 awards; (3) USDA’s processing of already-awarded grants; and (4) the process by

 which USDA determined that the 309 grants it referenced should be frozen “as

 inconsistent with the Secretary’s priorities on DEI,” to determine whether there are

 additional issues to be raised with the Court.

III.   U.S. ENVIRONMENTAL PROTECTION AGENCY

 Status of Plaintiffs and Declarants

       As to Plaintiff Childhood Lead Action Project: on April 28, EPA restored its

 grant drawdown access, and CLAP processed its drawdown backlog. CLAP received

 those funds the following day. On May 1, however, CLAP received via e-mail a

 termination letter dated April 30. That letter states that the award “is terminated in

 its entirety effective immediately on the grounds that the award no longer effectuates

 the program goals or agency priorities. The objectives of the award are no longer

 consistent with EPA funding priorities.” Ex. 1. The letter further states:

              The EPA Administrator has determined that, per the
              Agency’s obligations to the constitutional and statutory law


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              of the United States, this priority includes ensuring that
              the Agency’s grants do not conflict with the Agency’s policy
              of prioritizing merit, fairness, and excellence in performing
              our statutory functions. In addition to complying with the
              law, it is vital that the Agency assess whether all grant
              payments are free from fraud, abuse, waste, and
              duplication, as well as to assess whether current grants are
              in the best interests of the United States.

              The grant specified above provides funding for programs
              that promote initiatives that conflict with the Agency’s
              policy of prioritizing merit, fairness, and excellence in
              performing our statutory functions; that are not free from
              fraud, abuse, waste, or duplication; or that otherwise fail
              to serve the best interests of the United States. The grant
              is inconsistent with, and no longer effectuates, Agency
              priorities.

 Id. As of the morning of May 2, CLAP’s grant no longer appeared on the ASAP portal.

       As of the late afternoon of April 28, the declarant in Exhibit V was able to

 access its grant funding, and was able to submit and receive a drawdown successfully.

 On May 1, the declarant received a notice from EPA terminating its grant—with the

 same boilerplate language CLAP received—“on the grounds that the remaining

 portion of the Federal award will not accomplish the EPA funding priorities for

 achieving program goals. The objectives of the award are no longer consistent with

 EPA funding priorities.” Ex. 2. The letter goes on to include the same paragraph about

 EPA’s “priority” of “ensuring that the Agency’s grants do not conflict with the

 Agency’s policy.” Id. But it does not include the subsequent paragraph from CLAP’s

 letter, which discusses “[t]he grant specified above.” Id.




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       As of April 29, Eastern Rhode Island Conservation District learned from the

 grantee through which it is a subgrantee that the portal for its EPA grant was open.

 On May 1, ERICD received word from the grantee that EPA had terminated its grant.

       Plaintiffs have been notified by other EPA grantees that they received

 termination notices giving the same generic “explanation” for the termination.

 Outstanding Issues

       Plaintiffs will review Defendants’ forthcoming status report regarding (1) the

 status of funds unfrozen and (2) how many of the termination notices referenced in

 the Coogan Declaration have been transmitted to the grantees.

       Plaintiffs further submit that the termination letters received by CLAP and

 ERICD (via its direct grantee) provide new information underscoring that this set of

 terminations was categorical, not individualized; simply made permanent the freezes

 already in place; and therefore does not comply with Section 2 of the Court’s

 preliminary injunction order. These letters reference only broad, undefined categories

 and catch-all provisions. These are not “findings.” They neither provide nor claim an

 individualized basis for the termination, and include no reference to any specific

 concerns with the grantee, the project for which the grantee received funding, or the

 grantee’s performance. Indeed, the termination letters are so generic that they do not

 even state the grounds for termination. They offer only a set of disjunctive

 possibilities, without specifying if the award was terminated because of alleged lack

 of merit, or alleged waste, or allegedly not “serv[ing] the best interests of the United

 States.” This does not reflect an individualized determination.




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       More telling, the EPA “priorities” the termination notice articulates are not, in

 fact, explanations for a termination: they are explanations for a freeze. EPA’s

 articulated priority is “ensuring that the Agency’s grants do not conflict with the

 Agency’s policy,” such that “it is vital that the Agency assess whether” the grants are

 in the best interests of the United States. In other words, EPA seems to be saying

 that it does not want to pay out any more money before it assesses whether an award

 fails to prioritize merit, or is duplicative, or does not serve the best interests of the

 United States. CLAP’s boilerplate letter, of course, does not state the particular

 outcome of any such assessment, if it has even yet taken place. And the letter the

 declarant received does not even state that EPA has made a determination that the

 grant actually is fraudulent or wasteful or not in the best interests of the United

 States at all. It is merely saying that EPA does not want to pay out any more money

 before it assesses whether these things may or may not be true. This is not an

 individualized termination; it is an attempt to make a freeze permanent.

       Plaintiffs are mindful of the Court’s prior skepticism that terminations are

 properly before it at this time. But given the new information (and lack of any

 individualized assessment) provided in the form letters, as well as EPA’s admission

 that it has engaged in the shuttering of entire grant programs, Coogan Decl. ¶ 6,

 Plaintiffs respectfully renew their contention that in these circumstances, it would be

 appropriate for the Court to require EPA to provide additional information—if not

 actual documentation—to understand whether these mass terminations were

 genuinely “individualized” such that they do not violate Section 2 of the preliminary




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 injunction order, or whether they were categorical efforts to permanently freeze

 funds. This does not require an assessment of whether the terminations themselves

 were otherwise lawful.


 Dated: May 2, 2025                Respectfully submitted,

                                   /s/ Miriam Weizenbaum

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                        CERTIFICATE OF SERVICE

         On May 2, 2025, I caused the foregoing and accompanying materials to

   be served on all Defendants through the CM/ECF system.



                                        /s/ Miriam Weizenbaum
                                        Miriam Weizenbaum
